

People v McNear (2019 NY Slip Op 03249)





People v Mcnear


2019 NY Slip Op 03249


Decided on April 26, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 26, 2019

PRESENT: WHALEN, P.J., DEJOSEPH, NEMOYER, AND WINSLOW, JJ. (Filed Apr. 26, 2019.) 


MOTION NO. (1116/99) KA 99-00063.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vSAMUEL MCNEAR, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








